             Case 19-51291-lrc                   Doc 19 Filed 06/03/19 Entered 06/03/19 16:31:42                    Desc
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Information to identify the case:
Debtor 1              Larry Claude Jarman                                          Social Security number or ITIN   xxx−xx−1034
                      First Name   Middle Name    Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                      First Name   Middle Name    Last Name
(Spouse, if filing)
                                                                                   EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Georgia

Case number: 19−51291−lrc


Order of Discharge                                                                                                          12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Larry Claude Jarman
           aka LAWRENCE C JARMAN

                                                                           By the court:
           6/3/19
                                                                                             United StatesCraig
                                                                                             Lisa Ritchey  Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                            This order does not prevent debtors from paying
and it does not determine how much money, if                              any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                      debts according to the reaffirmation agreement.
                                                                          11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                 Most debts are discharged
attempt to collect a discharged debt from the                             Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                           personal liability for debts owed before the
or otherwise try to collect from the debtors                              debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                          Also, if this case began under a different chapter
in any attempt to collect the debt personally.                            of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                          to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                               are discharged.

However, a creditor with a lien may enforce a                             In a case involving community property: Special
claim against the debtors' property subject to that                       rules protect certain community property owned
lien unless the lien was avoided or eliminated.                           by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                             not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                         For more information, see page 2 >
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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;

                                                            This information is only a general
     ♦ debts that the bankruptcy court has                  summary of the bankruptcy discharge;
       decided or will decide are not discharged            some exceptions exist. Because the law is
       in this bankruptcy case;                             complicated, you should consult an
                                                            attorney to determine the exact effect of
                                                            the discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;
                                                            This Bankrutcy Discharge is an important
                                                            document that you should retain in the
     ♦ some debts which the debtors did not                 event a copy is needed in the future. If
       properly list;                                       you request a copy from the Clerk's Office
                                                            at a later date you will be required to pay
                                                            a fee.
     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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